Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 1 of 54 PagelD# 55009

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Norfolk Division

In re:
ZETIA (EZETIMIBE) ANTITRUST
LITIGATION

MDL NO. 2:18md2836

OPINION

This matter comes before the court on Defendants’!
Objections, ECF No. 1732, (“Objections” or “Def. Obj.”) to
Magistrate Judge Douglas E. Miller’s Report and Recommendation,
ECF No. 1717, (“R&R”). In his R&R, Judge Miller recommended that
this court deny Defendants’ Motions for Summary Judgment, ECF
Nos. 1037, 1067, on all claims. See R&R at 73. For the reasons
stated below, the court hereby OVERRULES Defendants’ Objections;
AFFIRMS the findings and recommendations set forth in the R&R;
and DENIES Defendants’ Motions for Summary Judgment.

I. BACKGROUND
The record is replete with recitations of the relevant

facts.2 However, the court provides the following background

 

1 Defendants in this case consists of Merck & Co., Inc.;
Merck Sharp & Dohme Corp.; Schering-Plough Corp.; Schering Corp.;
and MSP Singapore Co. LLC (collectively, “Merck”); Glenmark
Pharmaceuticals, Ltd. and Glenmark Pharmaceuticals Inc., USA
(collectively, “Glenmark”).

2 See, e.g., R&R at 5-24, n.3.
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 2 of 54 PagelD# 55010

information and a selected timeline of relevant events for
purposes of addressing Defendants’ Objections to the R&R.
A. ANDA Process
In order to market and sell a pharmaceutical product, a firm
must file a New Drug Application (“NDA”) with the Food and Drug
Administration (“FDA”). Seeking approval under the NDA process is
“a long, comprehensive, and costly testing process.” Fed. Trade

Comm’n v. Actavis, 570 U.S. 136, 142 (2013). To incentivize the

 

entrance of lower-priced, generic versions of previously approved,
“listed drugs,” the Drug Price Competition and Patent Term
Restoration Act of 1984 (“Hatch-Waxman Act”) provides for the
Abbreviated New Drug Application (“ANDA”) process. Pub. L.
No. 98-417, 98 Stat. 1585 (1984).

Under the ANDA process, a pharmaceutical company may request
approval from the FDA to market and sell a generic version of a
listed drug. The first generic manufacturer to obtain ANDA
approval (the “first filer”) is granted an “exclusivity” period,
which lasts 180 days. See 21 U.S.C. § 355(3) (5) (B) (iv). During
this exclusivity period, no other generic product may enter the
market, except for one produced by the patent holder. A patent
holder’s generic, if produced, is referred to as an “authorized
generic” (“AG”), and is defined as a drug “marketed, sold, or
distributed directly or indirectly to retail class of trade under

a different labeling, packaging (other than repackaging as the

2
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 3 of 54 PagelD# 55011

listed drug in blister packs, unit doses, or similar packaging
for use in institutions), product code, labeler code, trade name,
or trade mark than the listed drug.” 21 U.S.C. § 355(t) (3) (B)

In an ANDA filing, an applicant must make certain assurances
and certifications, designed to ensure that the brand-name
manufacturer and the generic manufacturer “resolve intellectual
property disputes.” In re Wellbutrin XL Antitrust Litig, 868
F.3d 132, 144 (3d Cir. 2017). One such certification, referred to
as a “Paragraph IV certification,” claims that the manufacturer’s
patent is either invalid or will not be infringed by the generic
drug. See 21 U.S.C. § 355 (j) (2) (A) (vii), (IV). If an ANDA filer
includes the Paragraph IV certification, the patent holder must
be notified. 21 U.S.C. § 355 (3) (2) (B). A patent infringement suit
is likely to follow.

B. Actavis Reverse Payment

Plaintiffs’ theory in this case relies on the foundational
reverse payment case, Actavis. See 570 U.S, 136. In Actavis, the
patent holders of a pharmaceutical drug sued two generic
manufacturers for patent infringement, after the generics had
filed Paragraph IV ANDA applications. After years of litigating
their patent dispute, the parties settled. As a part of the
settlement agreement, the patent holders paid millions of dollars

to the generic manufacturers, who agreed to a particular date on
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 4 of 54 PagelD# 55012

which their generic versions of the patented drug could enter the
market.

The Court found this reverse payment settlement “unusual,”
since the patent holders faced no potential liability to the
generics. Id. at 147-48. The payees were situated as plaintiffs
in the patent infringement suit and were further shielded by the
protection of their patents. Id. After analysis of the parties’
dispute and consideration of the tension between patent and
antitrust law,3 the Court identified its central concern with
reverse payment arrangements, generally: The possibility that the
“unusual” payment reflected the patent holder’s “desire to
maintain and to share patent-generated monopoly profits” by
entering into the settlement agreement with the generic
manufacturer. Id. at 158. That kind of arrangement, the Court
exclaimed, could thus be the result of the improper wielding of
the patent power rather than simply the avoidance of future
litigation costs; a type of conduct that "the antitrust laws are
likely to forbid.” Id.

The Court identified that an “unexplained large reverse

payment” of the type paid in Actavis, “would normally suggest that

 

3 As the Eleventh Circuit had stated in its opinion, before
cert was granted: “The difficulty at the heart of this case is in
deciding how to resolve the tension between the pro-exclusivity
tenets of patent law and the pro-competition tenets of antitrust
law.” Fed. Trade Comm’n v. Watson Pharmaceuticals, Inc., 677 F.3d
1298, 1306 (llth Cir. 2012).
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 5 of 54 PagelD# 55013

the patentee has serious doubts about the patent’s survival.” Id.
at 157.4 In response to the doubt about its patent’s ability to
survive the infringement suit, the patent holder may “prevent the
risk of competition” by paying off the generic challenger to
settle the suit, and thereby control the date on which the generic
enters the market. Id. Thereby, the patent holder chooses to
exchange “a share of its monopoly profits” for a delay in
competition. Id. at 154. The precise delay obtained, in this
context, spans between Date X, the risk-adjusted date of patent
invalidation,® and Date Y, the settlement’s agreed generic entry
date.

This delay, potentially obtained by the improper use of the
patent power, leaves consumers with a relatively longer period
without generic competition in the market, and higher prices as a
result. Accordingly, the Court’s decision in Actavis addresses
the “concern that settlements taking this form tend to have
significant adverse effects on competition,” by declaring that

these agreements may be subject to antitrust scrutiny. Id. at 137.

 

4 If the patent holder thought it was sure to win the
infringement suit, why would they pay the generic a sum larger
than future litigation costs to end the dispute?

5 To illustrate, unless there is a certainty that the patent
would be invalidated, the risk-adjusted date of patent
invalidation must be some time later than the projected end of
the patent infringement litigation. This date is also necessarily
before the settlement agreement allows generic entry and before
patent expiry.
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 6 of 54 PagelD# 55014

Ultimately, the Court found that the familiar rule of reason
framework should apply to reverse payment arrangements, but left
up to lower courts the method for effectuating the framework in
the context of reverse payment cases. Id. at 160. While the payment
in Actavis was strictly monetary, lower courts have since extended
its holding to apply to other, non-monetary “transfers of value,”
such as a patent holder’s agreement to not produce an AG. See King
Drug Co. of Florence, Inc. v. Smithkline Beecham Corp.
(“Lamictal"), 791 F.3d 388, 394 (3d Cir. 2015).
C. Timeline of the Merck-Glenmark Litigation

In the 1990s and early 2000s, Merck applied for and obtained
various patents and reissued patents related to the compound
ezetimibe. See ECF No. 128 at 37-43 (“DPPs Am. Compl.”)}. On
October 25, 2002, Merck obtained approval from the FDA to market
and sell Zetia, a cholesterol drug which contained ezetimibe as
its active ingredient. See DPPs Am. Compl. at 45. On October 25,
2006, Glenmark filed an ANDA for Zetia, certifying that the
patents covering Zetia were either invalid or would not be
infringed by Glenmark’s generic. See DPPs Am. Compl. at 48.

On March 22, 2007, after receiving notice of Glenmark’s ANDA
filing, Merck sued Glenmark in the District of New Jersey,
alleging that Glenmark’s generic would infringe U.S. Patent No.
RE37,721 (the “RE’721 Patent”), one of Merck’s patents covering

ezetimibe. See DPPs Am. Compl. at 49. In mid-2009, Merck and
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 7 of 54 PagelD# 55015

Glenmark began settlement negotiations. See ECF No. 1085 at 15-17
(“Merck Statement of Facts” or “Merck SOF”).

On November 5, 2009, a second generic drug manufacturer,
Mylan, notified Merck that it had submitted an ANDA for Vytorin.
Merck SOF at 20. Vytorin was also a drug marketed and sold by
Merck, which contained a mix of ezetimibe and a second compound,
called simvastatin. See Merck SOF at 12. On December 16, 2009,
Merck filed a patent infringement suit against Mylan in the
District of New Jersey, alleging that Mylan’s ANDA application
for Vytorin also infringed the RE ‘791 Patent. See Merck SOF
at 20.

On May 10, 2010, Merck and Glenmark signed a settlement
agreement. ECF No. 398-21 (“Settlement Agreement” or “Sett.
Agr.”). The Settlement Agreement provided, inter alia:

~ Merck would reimburse Glenmark for up to $9 million in
attorneys’ fees, already incurred. Id. § 7.3.

- During its period of exclusivity, Glenmark was granted the
exclusive right to market “Generic Ezetimibe,” id. § 5.3,
elsewhere defined as:

[A] drug product containing ezetimibe as its sole
active ingredient (a) that refers to the Approved
Zetia Product as the reference-listed drug in an
ANDA .. . or (b) that is sold pursuant to NDA No.
21-445 but is not sold under the trademark Zetia®
or another trademark or trade name of Schering, MSP
or their Affiliates.

id. § 1.14.6

 

6 Plaintiffs allege that these provisions amount to a so-
called “No-AG agreement,” which prohibits Merck from launching an

7
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 8 of 54 PagelD# 55016

- Glenmark could launch its generic version of Zetia on
December 12, 2016. Id. §5.4.

- Merck and Glenmark would execute a consent judgment,
ending their dispute. Id. § 2.1.

On June 14, 2011, the RE’721 Patent was reissued by the
Patent and Trademark Office (“PTO”) as U.S. Patent No. RE42,461
(the “RE’461 Patent”), which Merck then asserted against Mylan.
See Merck SOF at 21. On December 5, 2011, the trial between Merck
and Mylan began. See Merck SOF at 21. On April 27, 2012, the
District Court for the District of New Jersey, Judge Linares, held
that the RE’461 Patent was valid and enforceable. See Merck SOF
at 21. This decision was subsequently affirmed by the Federal
Circuit. See Merck, Sharp & Dohme Corp. v. Mylan Pharms.,
Inc., 496 F. App’x 87 (Fed. Cir. 2013).

In or about January 2014 is the date on which Plaintiffs’
patent expert, Robert Hrubiec, opines that the litigation between
Merck and Glenmark would have ended, after exhaustion of all
appeals to the Federal Circuit. See ECF No. 1083-18 at 30 (“Hrubiec

Rpt.”).7 In or about early-2015 is the date on which Plaintiffs’

 

AG during Glenmark’s period of exclusivity; Defendants adamantly
disagree. This dispute is discussed, at length, infra Part

III.A.1.

7 Thus, January 2014 constitutes the date on which Glenmark’s
generic might have entered the market, if the parties continued
to litigate their patent dispute, and Glenmark prevailed. The
court notes that this date and its underlaying opinion is heavily

8
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 9 of 54 PagelD# 55017

economic experts, Drs. Thomas McGuire and Keith Leffler, opine
that Merck and Glenmark would have agreed to allow entry of
Glenmark’s generic version of Zetia, had the Settlement Agreement
not included § 5.3.8 See ECF Nos. 1130-9 at 26 (“McGuire Rbt.
Rpt.”), 1130-4 at 54-55 (“Leffler Rpt.”). December 12, 2016, is
the date on which the Settlement Agreement, by its explicit terms,
allowed entry of Glenmark’s generic version of Zetia. See Sett.
Agr. § 5.4. On April 25, 2017, Merck’s period of pediatric
exclusivity for Zetia ended, terminating Merck’s exclusive rights
to ezetimibe.® See Merck SOF at 12, 13.
D. Defendants’ Motions for Summary Judgment
Plaintiffs’!° and Defendants have been engaged in extensive

litigation concerning Merck and Glenmark’s Settlement Agreement.

 

disputed by Defendants. It is included in this timeline to
illustrate the relevant events, as alleged by Plaintiffs.

® Thus, early 2015 constitutes the date on which Plaintiffs’
alternate settlement theory relies. See infra Parts III.B.1.ii.
(discussing alternate settlement theory as it relates to
anticompetitive effect), III.C.2 (same, as it relates to
causation). Again, the court notes that this date and its
underlaying opinion is heavily disputed by Defendants. It is
included in this timeline to illustrate the relevant events, as
alleged by Plaintiffs.

9 Thus, April 25, 2017 constitutes the date on which
Glenmark’s generic might have entered the market, if the parties
continued to litigate their patent dispute, and Merck prevailed.

10 “plaintiffs” refers to all plaintiffs in this multi-
district litigation, which consists of a class of End Payor
Plaintiffs (“EPPs”), jointly litigating Direct Purchaser
Plaintiffs (“DPPs”), and several large insurance companies and
pharmaceutical retailers.
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 10 of 54 PagelD# 55018

Plaintiffs claim that Defendants conspired to delay the
introduction of generic ezetimibe to the market, in violation of
Sections 1 and 2 of the Sherman Act. DPPs Am. Compl. at 11, 29;
See 15 U.S.C. § 1, 2. The Settlement Agreement, Plaintiffs allege,
included an “unexplained large reverse payment,” which violates
the antitrust laws, according to the Supreme Court’s opinion in
Actavis, 570 U.S. 136. This prolonged multidistrict litigation is
now on the eve of trial, which is scheduled to begin on April 17,
2023. See ECF No. 1765.

On August 10, 2020, Glenmark, ECF No. 1037, and Merck,
ECF No. 1067, filed their Motions for Summary Judgment. On
September 2, 2022, Judge Miller issued his R&R, recommending that
this court deny Defendants’ Motions. See ECF No. 1717. In
consolidated filings, Defendants objected, ECF No. 1732 (“Def.
Obj.”), and Plaintiffs responded, ECF No. 1739 (“Pls. Resp.”).
Shortly thereafter, on October 6, 2022, Defendants requested leave
to file a reply,1! ECF No. 1742, which the court granted, ECF
No. 1766. Defendants also requested that this court hold a hearing
on the matter. See ECF No, 1751. On December 15, 2022, counsel
for the parties convened before the court and argument was heard.

See ECF No. 1791. Thus, having been extensively briefed and argued

 

11 The impetus for Defendants’ request for leave to reply is
discussed in greater detail. Infra Part III.B.1.

10
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 11 of 54 PagelD# 55019

before the court, this matter is now ripe for judicial
determination.
II. STANDARD OF REVIEW
A. Review of Magistrate Judge’s R&R

Pursuant to Rule 72(b) of the Federal Rules of Civil
Procedure, the court, having reviewed the record in its entirety,
must make a de novo determination of those portions of the R&R to
which the parties have specifically objected. Fed. R. Civ.
P. 72(b). “[A]s part of its obligation to determine de novo any
issue to which proper objection is made, a district court is
required to consider all arguments directed to that issue,
regardless of whether they were raised before the magistrate.”
See United States v. George, 971 F.2d 1113, 1118 (4th Cir. 1992)
(emphasis added).

For unchallenged portions, the court “must ‘only satisfy
itself that there is no clear error on the face of the record in
order to accept the recommendation.’” Diamond v. Colonial Life

& Accident Ins. Co., 416 F.3d 310, 315 (4th Cir. 2005) (quoting

 

Fed. R. Civ. P. 72 advisory committee's note). The court may
accept, reject, or modify, in whole or in part, the recommendation

of the Magistrate Judge, or recommit the matter to him with

instructions. 28 U.S.C. § 636(b) (1).

11
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 12 of 54 PagelD# 55020

B. Summary Judgment
Summary judgment is appropriate when the court, viewing the
record as a whole and in the light most favorable to the nonmoving
party, finds there is no genuine issue of material fact and that
the moving party is entitled to judgment as a matter of law.

Austin v. Clark Equip. Co., 48 F.3d 833, 835-36 (4th. Cir. 1995).

 

“Thus, it is the burden of the moving party to show the court that
no material factual issues exist for trial.” Id. at 835.

If the moving party carries its burden, the court should
grant summary judgment if the nonmoving party has failed to
establish, after adequate time for discovery, the existence of an
essential element of that party’s case. Celotex Corp. v. Catrett,
477 U.S. 317, 322-23 (1986). At a minimum, the nonmoving party
must present “evidence on which the [trier of fact] could
reasonably find” for the nonmoving party. Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 252 (1986). The nonmoving party must
go beyond the facts alleged in the pleadings, and rely instead on
affidavits, depositions, or other evidence to show a genuine issue
for trial. See Celotex, 477 U.S. at 324; M & M Med. Supplies &
Serv., Inc. v. Pleasant Valley Hosp., Inc., 981 F.2d 160, 163 (4th
Cir. 1992).

III. DEFENDANTS’ OBJECTIONS
Defendants raise several objections to the R&R, which map

generally to the various elements of Plaintiffs’ antitrust claim.

12
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 13 of 54 PagelD# 55021

Each objection concludes that the R&R was in error regarding the
finding of triable issues of fact related to an antitrust element.
Defendants challenge the characterization and valuation of the
reverse payment in this case and submit that no reasonable juror
could conclude that (1) the Settlement Agreement had
anticompetitive effects, (2) Defendants’ conduct caused
Plaintiffs an antitrust harm, or (3) Plaintiffs suffered an
antitrust injury. These objections are addressed, in turn, below.
A. Reverse Payment

The initial question in any reverse payment case is straight-
forward: What was the reverse payment, and how much was it worth?
Here, Plaintiffs allege that the reverse payment from Merck to
Glenmark consisted of two components: (1) a “No-AG provision,”
valued at $25.5 million (or more); and (2) the reimbursement
for Glenmark’s attorney’s fees, up to $9 million. See ECF
Nos. 1130-8 at 53 (“McGuire Rpt.”), 1130-4 at 47 (“Leffler Rpt.”).
Contrary to Defendants’ objections, the R&R correctly concluded
that there are disputes of material fact concerning both the
nature and value of the reverse payment in this case. See R&R
at 29.
1. Existence of an Alleged No-AG Provision

Defendants object to the R&R’s finding that “Plaintiffs have
established triable issues regarding the existence of a No-AG

agreement.” R&R at 29 (emphasis added). Defendants argue that any

13
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 14 of 54 PagelD# 55022

reasonable juror would find at trial that the alleged No-AG
provision in the Settlement Agreement merely constituted a
“limited exclusive license provision under which Merck would not
launch an unbranded AG during a portion of Glenmark’s period of
exclusivity.” Def. Obj. at 9 (emphasis added). Defendants submit
that the plain language of the Settlement Agreement makes clear
that Merck maintained the right to launch a branded AG, defined
succinctly in the R&R as “a generic that is sold under some
‘trademark or trade name’ of Merck that is not Zetia,” R&R at
n. 15, and thus the provision cannot be reasonably interpreted as
a No-AG agreement. Def. Obj. at 10.

Because they claim that the language of the provision is
unambiguous, Defendants submit that the R&R ran contrary to New
Jersey rules of contract interpretation! when considering
extrinsic evidence that contradicts what Defendants assert is the
plain meaning of the Settlement Agreement. Def. Obj. at 11 (citing
Conway v. 287 Corp. Ctr. Assocs., 187 N.J. 259, 269 (2006)).

The court agrees with the R&R’s conclusion that Plaintiffs
have established triable issues of fact related to the appropriate
characterization of the alleged No-AG provision. First, the
language of the provision is sufficiently ambiguous to turn to

extrinsic evidence. See Conway, 901 A.2d at 346. This court

 

12 The Settlement Agreement is controlled by New Jersey law.
See Sett. Agr. 7 10.3 (ECF No. 398-1, at 23).

14
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 15 of 54 PagelD# 55023

meticulously analyzed the language of the relevant provisions in
the Settlement Agreement when ruling on Defendants’ Motions to
Dismiss, ECF Nos. 157, 160, 162. See ECF No. 489 at 15-21. In that
Opinion, this court reasoned that:

Because the Settlement Agreement allowed Merck to sell

ezetimibe under a "trade name," or brand name, and not

under the generic name "ezetimibe," the Settlement

Agreement [plausibly] did not allow Merck to sell a

generic product, including an AG.
Id. at 20.

At that time, the court explicitly identified an ambiguity
in the definition of “Generic Ezetimibe,” due to Defendants’
reasonable, “competing interpretation” of the phrase “trade name.”
Id. That ambiguity, and its effect on whether Merck retained the
ability to launch an AG, remains at this juncture, even after
numerous briefings, hearings before the court, and after review
of the Objections and R&R. Thus, sufficient ambiguity exists to
warrant the use of extrinsic evidence to interpret the meaning
and intent of the alleged No-AG provision. Put simply, the R&R
correctly concluded that “the Settlement Agreement language is
not so clear that summary judgment could be awarded to either
party based on the textual argument alone.” R&R at 32.

Alternatively, Defendants object to the R&R’s finding that
the antitrust nature of Plaintiffs’ claim independently justifies

the availability of extrinsic evidence to interpret the

rovision’s meaning. Def. Obj. at 12. Plaintiffs’ arguments, ECF
P g

15
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 16 of 54 PagelD# 55024

No. 1156 at 58-59, and the R&R’s conclusion to this effect, R&R
at 32, rely on the proposition by relying on the Eighth Circuit’s
opinion in In re Wholesale Grocery Prods. Antitrust Litig., 752
F.3d 728, 734 (8th Cir. 2014). In that case, the Bighth Circuit
found that extrinsic evidence was available to interpret the
meaning of a non-compete agreement between the defendants. Id.
The court reasoned that the antitrust nature of the plaintiffs’
claim broadened the scope of the court’s inquiry beyond the text
of the agreement itself:

[T]his is not a contracts case in which the scope of the

alleged anticompetitive agreement is cabined by the four

corners of the written document. Not confined by the
parol evidence rule, [the plaintiffs] could use all
manner of extrinsic evidence to persuade a jury that
what the [defendants] actually agreed to was a naked
division of territory and customers.
Id. The Eighth Circuit then looked to the extrinsic evidence
proffered by the plaintiffs and held that the “the record contains
enough evidence, viewed in the light most favorable to [the
plaintiffs]” to present “a factual dispute about the real terms
of the [defendants’] agreement.” Id. at 734-35.

Here, Defendants attempt to distinguish Wholesale Grocery by
arguing that a necessary prerequisite to considering extrinsic
evidence in an antitrust case is an allegation by the plaintiffs
that an “alternate agreement,” distinct from the written one,

exists. Def. Obj. at 12. Defendants deny that Plaintiffs have made

such an allegation, nit-picking that Plaintiffs’ theory focuses

16
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 17 of 54 PagelD# 55025

on interpreting the true meaning of the No-AG provision, rather
than alleging the existence of a side-agreement, not evinced by
Defendants’ written agreement itself. See id.13 The court disagrees
with this reading of Wholesale Grocery. The Bighth Circuit’s
concern with “aspiring monopolists . . . sealing their true
anticompetitive agreement,” surely includes, as the R&R described,
disguising the true meaning of the agreement with carefully
crafted, iterative, ambiguous text. See R&R at 33. As the R&R
noted, Plaintiffs have “consistently” theorized and produced
evidence substantiating that the true nature of Defendants’
agreement was disguised in this fashion. Id.

Turning then to the evidence submitted by Plaintiffs, the
court agrees with the R&R that Plaintiffs have established triable
issues of fact regarding whether Defendants intended the
Settlement Agreement to prevent Merck from launching a generic
version of Zetia during Glenmark’s period of exclusivity.
Plaintiffs have offered “extensive evidence that Glenmark sought
a no-AG agreement during negotiations,” as well as extensive

evidence that “both Merck and Glenmark made post-settlement

 

13 Defendants overemphasize the significance of the fact that
the defendants in Wholesale Grocery had explicitly acknowledged
that the “’basis of the deal’ was a broader agreement” that the
defendants wouldn’t compete in a particular geographical region,
rather than simply over their former customers, as the written
agreement specified. Def. Obj. at 12 (citing Wholesale Grocery,
752 F.3d at 730).

17
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 18 of 54 PagelD# 55026

decisions reflecting Defendants' mutual understanding that the
settlement restricted Merck's ability to launch an AG.” R&R
at 31. Therefore, as in Wholesale Grocery, “this case presents a
factual dispute about the real terms of [Defendants’] agreement.”
752 F.3d at 735.

2. Value of the Reverse Payment

Defendants also object to the R&R’s determination that
triable issues of fact exist regarding the value of both
components of the reverse payment. Def. Obj. at 13-14. Here, the
court finds no error.

First, Defendants reject the opinion of one of Plaintiffs’
economists, Dr. McGuire, because his analysis did not consider a
provision with the type of restriction Defendants’ claim the
alleged No-AG provision imposes. Def. Obj. at 13. Still eschewing
the suggestion that the provision could, in fact, outright prevent
Merck from launching an AG, Defendants claim that Dr. McGuire’s
analysis was flawed because it did not account for the value of
Merck’s ability to launch a “product that had a trademark or
tradename of Merck on it during [Glenmark’s exclusivity period’].”
Id. (citing ECF No 1082-19 at 70:11-71:14, “McGuire Dep.”).

However, Defendants can cross-examine Dr. McGuire and argue
their points to the jury. Moreover, Plaintiffs may offer expert
testimony based on a disputed version of the facts. See ECF

No. 1649 at 18 (Magistrate Judge’s Order denying Defendants’

18
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 19 of 54 PagelD# 55027

Motion to Exclude). Further, Plaintiffs have supported their
experts’ valuation of the No-AG agreement. Plaintiffs’ experts
testify that there would be “no sound economic reason” for
a pharmaceutical company to launch a branded generic. See ECF
No. 1154-4 at 7-16 (“Rosenthal Dep.”); McGuire Dep. at 3-4.
Consistent with those opinions, Merck’s own product history
illustrates that Merck routinely launched unbranded AGs for its
drugs, but never a second branded drug. See ECF No. 1156 at 33-34
(“Pls. Res. to SJ”). This appears to be industry convention, as
only three percent of generics are branded. See id. at 33.

While Defendants contend that these arguments rely, to some
extent, on what Merck was likely to do, rather than what Merck
might have been permitted to do under the plain language of the
Settlement Agreement, the court agrees with the R&R’s finding that
industry custom and economic feasibility are “probative of how
[Merck and Glenmark] valued the alleged carveout for a branded
generic when it was drafted.” R&R at 38. The valuation of the
provision at the time of settlement is the proper inquiry.
Accordingly, even cabining the possibility that Merck retained
the ability to launch a branded generic, triable issues of fact
regarding the true value of the provision to Merck remain. A
reasonable juror may resolve these issues in Plaintiffs’ favor.

Second, Defendants object to the R&R’s finding that the $9

million payment from Merck to reimburse Glenmark for its

19
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 20 of 54 PagelD# 55028

attorney’s fees may be considered alongside the approximately
$25.5 million (or more) valuation of the No-AG provision.™ Def.
Obj. at 14. Defendants cite to Actavis itself, claiming that the
$9 million reimbursement falls under the “safe harbor” of a
payment provided for “traditional settlement considerations, such
as avoided litigation costs.” Def. Obj. at 14 (citing Actavis,
570 U.S. at 156). However, as the R&R noted, the $9 million
reimbursement was not provided for “avoided litigation costs;” it
was “expressly denominated as reimbursement for Glenmark’s
attorney’s fees already incurred.” R&R at 44. Thus, there was no
error in concluding that a reasonable juror could find that the
$9 million payment for incurred litigation costs was a component
of the large and unjustified payment. This determination is
consistent with several lower court decisions following Actavis.
See e.g., King Drug, 88 F. Supp. 3d at 418; In re Aggrenox

Antitrust Litig., 94 F. Supp. 3d 224, 243 (D. Conn. 2015).

B. Anticompetitive Effect
After identifying the nature and value of the reverse
payment, the next inquiry is whether the payment had an
anticompetitive effect, under the principles outlined in Actavis

and its progeny. See Lamictal, 791 F.3d at 412 (“[T]o prove

 

14 As the R&R noted, Drs. McGuire and Leffler “estimate that
a Zetia AG was worth at least $25.5 million but could have been
markedly more valuable.” See R&R at 42.

20
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 21 of 54 PagelD# 55029

anticompetitive effects, the plaintiff must prove payment for
delay, or, in other words, payment to prevent the risk of
competition.”). Defendants object to various aspects of the R&R’s
findings related to the anticompetitive effects of the Settlement
Agreement. See Def. Obj. at 15-22. Defendants claim that Judge
Miller's analysis of the anticompetitive effects of the Settlement
Agreement relied on a theory of harm that Plaintiffs were not
alleging. Def. Obj. at 15-17. Further, Defendants argue that no
disputes of material fact exist concerning whether the No-AG
provision was given in exchange for the entry date of Glenmark’s
generic nor whether Merck actually avoided the risk of patent
invalidation. Def. Obj. at 17-22. For the reasons stated below,
the court finds that Plaintiffs have sufficiently produced
evidence such that a reasonable juror could conclude that the
Settlement Agreement had anticompetitive effects of the type
contemplated by the Court in Actavis. See In re Nexium
(Esomeprazole) Antitrust Litig., 42 F. Supp. 3d 231, 287 (D.
Mass. 2014) (“Plaintiffs bear the burden of evincing evidence that
would enable a reasonable jury to find each core element of an
antitrust claim”).
1. Theory of Anticompetitive Effect

In support of their claim that Judge Miller erred when
“basing his recommendation on a theory of anticompetitive harm

that Plaintiffs are not alleging,” Defendants point out that:

21
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 22 of 54 PagelD# 55030

The R&R treats Plaintiff’s theory of anticompetitive
harm as being that Defendants’ settlement avoided the
risk of competition because it avoided the risk of patent
invalidation in the Glenmark litigation itself.
Def. Obj. at 15-16 (emphasis added). This characterization of the
R&R’s analysis is partially correct.!5 The R&R, at various points,
described the “risk of competition” avoided by settling the patent
infringement suit as the possibility that Merck’s RE’ 721 Patent
would be invalidated. See R&R at 47, 51, 53. Had the RE’721 Patent
been invalidated at the resolution of the patent dispute,
Glenmark’s generic could have entered the market, as soon as
feasible. This line of reasoning results in the avoidance of one
type of risk of competition, which may be referred to as the
patent invalidation theory. As described above, the patent
invalidation theory of risk of competition effectuates an
anticompetitive harm in the market because it results in a
“delayed” generic entry. To reiterate, the “delay,” in that

context, is between the risk-adjusted patent invalidation date

and the settlement’s agreed entry date.?!

 

15 However, aside from the R&R’s references to Merck’s
avoidance of patent invalidation, the R&R also cites Plaintiffs’
causation argument, the alternate settlement theory, as
contributing to the dispute of material fact around
anticompetitive effect. R&R at 53; see infra Part TII.C.2.
(discussing alternate settlement theory).

16 See supra Part I.B.

17 See id. (discussing how avoiding the risk of patent
invalidation leads to a “delay” in generic entry).

22
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 23 of 54 PagelD# 55031

Defendants’ Objections contend that the patent invalidation
theory of risk of competition is inconsistent with Plaintiffs’
broader theory of what happened in this case:

Plaintiffs have abandoned any theory that, but for the

[alleged No-AG] provision, the Glenmark case would have

proceeded to trial in 2010 and the patent would have

been invalidated . . . . Instead, under Plaintiffs’
actual theory, the case was always going to settle,
either with the [alleged No-AG] provision and a December

2016 entry date . . . or without the [alleged No-AG}

provision and a January-May 2015 entry date.

Def. Obj. at 16. This is correct. The “actual theory” referred to
by Defendants here is the theory on which Plaintiffs focus when
arguing that triable issues regarding causation exist.18 This
theory of risk of competition is called the “alternate settlement”
theory.?9

Pursuant to the alternate settlement theory, Plaintiffs’
experts contrast the real-world settlement - in which Defendants’
Agreement contained the alleged No-AG provision and a generic
entry date of December 2016 - with a hypothetical world in which
the Settlement Agreement did not contain a No-AG provision, and

had an agreed entry date of sometime between January and May

2015.20 Juxtaposed as such, Plaintiffs’ causation argument, and

 

18 See infra Part III.C.2. (discussing Plaintiffs’ alternate
settlement theory of causation).

19 Td.

20 Id.
23
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 24 of 54 PagelD# 55032

broader theory of the case, is that the No-AG provision was given
in exchange for a delay in generic competition from January - May
2015 (which may be called the “competitively-balanced generic
entry date”) to December 2016 (the allegedly anticompetitive
generic entry date).

The issue is glaring. If Plaintiffs’ hypothetical world
without a No-AG provision results in Merck and Glenmark settling
the patent infringement suit, the No-AG provision could not have
been given in exchange for settlement. Thus, Defendants are
correct to the extent they exclaim that, by Plaintiffs’ own
causation theory, Merck’s patent was never at risk of being
invalidated by the Glenmark litigation. Therefore, Plaintiffs’
theory of anticompetitive effects is in tension with their theory
of causation.

In response to this section of Defendants’ Objections,
Plaintiffs’ essentially doubled-down on their shape-shifting
argument, asserting that they “have consistently contended that
Merck’s No-AG commitment was exchanged for Glenmark’s commitment
to drop its patent challenge . .. .” Pls. Resp. at 14-15.
Plaintiffs propose that Defendants’ argument to this effect
“confuses liability with causation,” and suggests that “the
purchasers’ evidence of an antitrust violation” is separate from
the “benchmark that they have presented to establish that the

violation caused them some injury.” Id. Plaintiffs argue that

24
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 25 of 54 PagelD# 55033

their “election not to pursue a causation benchmark based on
Glenmark’s success in the patent litigation absent the Defendants’
No-AG agreement says nothing about whether the No-AG agreement
was anticompetitive.” Id. at 17. The court agrees with Plaintiffs’
proposition that “[t]he question of causation arises only after
the purchasers prove that the payment was anticompetitive.” Id.
However, Plaintiffs inappropriately diminish the significance of
the fact that their theory of anticompetitive effects conflicts
with their theory of causation.?1!

With Plaintiffs’ conflicting theories laid bare, Defendants
jolted in response and requested leave from the court to reply,
alleging that “Plaintiffs have presented a new purported theory
of anticompetitive harm . . . [that] is inconsistent with its
alternative settlement theory of causation and damages, which is
improper as a matter of law.” ECF No. 1742 at 2 (citing Comcast
Corp. v. Behrend, 569 U.S. 27, 35 (2013); In re Opana ER Antitrust
Litig., No. 14 C 10150, 2021 WL 2291067, at *15 (N.D. Ill.
June 4, 2021)). In their objection to that request, Plaintiffs
backtracked, retreating to the cover of general terminology, and
claimed that their theory of anticompetitive effect is, and always
has been, that “Merck paid Glenmark to avoid the risk of

competition.” ECF No. 1746 at 3 (emphasis added).

 

21 See infra Part III.B.1.i-ii.

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Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 26 of 54 PagelD# 55034

The problem, of course, is that the phrase “risk of
competition” is too vague to squarely address the nuance of the
conflict Defendants expose. During argument regarding
anticompetitive effect and causation, respectively, it must be
clear whether the “risk of competition” referred to is (1) the
risk of patent invalidation; or (2) generic entry at the
competitively balanced entry date, set forth by an alternate
settlement without a reverse payment.

For the reasons stated below, the court finds that, despite
Plaintiffs’ conflicting and oftentimes overly vague statements
throughout their briefings, Plaintiffs have produced evidence and
argument sufficient to establish a theory of anticompetitive
effect that is consistent both with Actavis and with their theory
of causation. As such, Defendants are not entitled to summary
judgment as a matter of law. The jury ultimately must decide this
matter of fact based on the law as instructed by the court.

i. Plaintiffs’ Inconsistent Theories

Defendants cite to two different cases to support their claim
that “(i]t is clear as a matter of law” that Plaintiffs’ “mix
and match” theories entitle Defendants to summary judgment. ECF
No. 1742-1 at 10 (“Def. Reply”). The court disagrees and finds
that neither case, nor the principle of law they evince, so clearly
leads to the conclusion that Plaintiffs’ case should be cut down

at this juncture.

26
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 27 of 54 PagelD# 55035

Defendants first cite to Comcast, 569 U.S. 27. Comcast was
an antitrust class action case in which the Supreme Court granted
cert to determine “whether class certification was appropriate
under Fed. R. Civ. P. 23(b)(3).”% Id. at 29. The respondents’
expert in that case used two different models; one to establish
anticompetitive effects and one to establish damages. Id. at 31.
On appeal, the petitioners argued that the class was improperly
certified because the expert’s damages model relied on a different
theory of what happened in the case than the theory supporting
the liability model. Id. at 32.

The precise holding of Comcast was that the lower courts
erred by granting and affirming class certification. Id. at 39.
However, the Court more broadly reasoned that “a model purporting
to serve as evidence of damages in this class action must measure
only those damages attributable to that theory.” Id. at 35.
Accordingly, the Court required that “at the class-certification
stage (as at trial), any model supporting a ‘plaintiff's damages
case must be consistent with its liability case, particularly with
respect to the alleged anticompetitive effect of the violation.’”
Id. (quoting ABA Section of Antitrust Law, Proving Antitrust
Damages: Legal and Economic Issues 57, 62 (2d ed. 2010)).

The impact of this rationale has caused considerable
confusion among lower courts, particularly in interpreting its

effect on the Rule 23(b) (3) predominance inquiry. See e.g., Alex

27
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 28 of 54 PagelD# 55036

Parkinson, Comcast Corp. v. Behrend and Chaos on the Ground, 81
U. Chi. L. Rev. 1213, 1225-38 (2014) (describing the wide-ranging
lower court interpretations of Comcast). As applied to the instant
case, the impact of the Court’s statements in Comcast is further
muddied by the fact that this case is not a class action subject
to Rule 23’s predominance requirement: This case is proceeding
as an MDL, with the parties joined individually. See ECF No. 1770
at 3-4, n.6 (outlining the procedural history of this case,
resulting in the MDL structure). Further, the posture of Comcast
was not a ruling on a motion for summary judgment, as here.
Defendants’ second citation to Opana, a case in the Northern
District of Illinois, more squarely applies to the case at bar,
as Opana also dealt with a reverse payment MDL case. See Opana,
2021 WL 2291067. In Opana, the expert’s theory of causation was
the “continued litigation” theory (i.e., absent the reverse
payment, the parties would have continued to litigate the patent
dispute to the end, with the generic challenger emerging
victorious). Id. at *15. But there was a wrinkle in the facts of
Opana: the patent holder subsequently acquired new patents, which
it then enforced against other generic manufacturers. Id. Thus,
even if the parties had continued to litigate their patent
dispute, the introduction of an additional set of patents served
as an intervening event. To compensate for that disruption, the

expert’s damages model was truncated to extend only through the

28
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 29 of 54 PagelD# 55037

date on which the patent holder acquired the additional patents.

Id.

The district court in Opana ultimately rejected the expert’s
damages model, citing the Court’s reasoning in Comcast. id.
However, like Comcast, Opana’s ruling was not in response to a
motion for summary judgment, but rather in response to the
defendants’ Daubert motion seeking to reject the expert’s
testimony. Id. at 14. Accordingly, neither Comcast nor Opana
directly control the limited issue of whether inconsistent
theories of anticompetitive effect and causation entitle a
defendant to summary judgment in a reverse payment case.

When pressed at the hearing, Defendants eventually clarified
that they viewed the application of the Comcast “principle” in
the summary judgment context as exposing a factual issue. See ECF
No. 1797 at 14-15. Defendants argue that, viewed through the
Court’s reasoning in Comcast, an antitrust plaintiff “cannot
survive summary judgment by presenting a case that is factually
inconsistent” by presenting one theory of anticompetitive effect
and another of causation, which “are not based on the same
[factual] premises.” Id. Essentially, Defendants highlight that
Plaintiffs’ case requires the fact finder to determine that the
reverse payment was exchanged to obtain settlement, on one hand,

and to obtain an alternate settlement, on the other. Id.

29
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 30 of 54 PagelD# 55038

Defendants assert that no reasonable juror could find both facts
to be true. Id.

Defendants’ briefing also alludes to another potential
connective tissue between the Court’s reasoning in Comcast and
the instant case: Antitrust standing. See Def. Reply at n.3.
Antitrust standing, distinct from Article III standing, is a
prudential doctrine of which antitrust injury is a component. see
Brunswick Corp. v. Pueblo Bowl-O-Mar, Inc., 429 U.S. 477, 489

(1977); Bell v. Dow Chem. Co., 847 F.2d 1179, 1182 (Sth Cir.

 

1988); Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An
Analysis of Antitrust Principles and Their Application, Ch. 3,
q 335 (5th ed. 2022) (discussing and identifying generally the
elements of antitrust standing). “To establish antitrust standing,
a plaintiff must show that it has suffered an antitrust injury -
that is, an injury of the type the antitrust laws were intended
to prevent and that flows from that which makes the defendants’
acts unlawful.” Wellbutrin, 868 F.3d at 164 (citations and
internal quotations omitted) (emphasis added).

Through this lens, the principle outlined in Comcast may also
support the conclusion that Plaintiffs lack antitrust standing if
a disconnect between the theory of liability and injury prevents
the plaintiffs’ from establishing that their injury “flow[ed] from
that which [made] the defendants’ acts unlawful.” Brunswick, 429

U.S. at 489. If Defendants’ conduct is only unlawful if Merck’s

30
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 31 of 54 PagelD# 55039

patent avoided the risk of invalidation, yet Plaintiffs’ injury
stems from an alternate settlement, Plaintiffs would appear to
not have antitrust standing, which is “properly viewed as an
element of an antitrust claim that can be resolved at summary
judgment.” Wellbutrin, 868 F.3d at 164 (citations omitted).
However, for the reasons stated below, the court finds that
Plaintiffs have offered evidence and argument under their theory
of alternate settlement sufficient to establish a theory of
anticompetitive effects that is consistent with Actavis and thus
capable of surviving summary judgment.
ii. Alternate Settlement as a Theory of Anticompetitive Effect

At bottom, Plaintiffs’ alternate settlement theory itself
serves as a valid theory of anticompetitive effect under Actavis.
To show anticompetitive effect in a reverse payment case, the
plaintiff must show “payment for delay.”?? Lamictal, 791 F.3d
at 412. The alternate settlement theory does just that.

While the specific delay in Actavis was based on the
avoidance of the risk of patent invalidation, it was the alleged
conduct resulting in the that delay which led the Court to subject

reverse payments to antitrust scrutiny. The Court granted

 

22 See In re Loestrin 24 Fe Antitrust Litig., 814 F.3d 538,
542 (lst Cir. 2016) (“[A] reverse payment typically arises when a
brand-name manufacturer pays the generic manufacturer to delay
entry of its generic equivalent, thereby protecting the brand’s
market from generic competition.”)

31
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 32 of 54 PagelD# 55040

certiorari to review Actavis after the Eleventh Circuit ruled
“that a reverse payment settlement agreement generally is ‘immune
from antitrust attack so long as its anticompetitive effects fall
within the scope of the exclusionary potential of the patent.’”
Actavis, 570 U.S. at 141 (quoting Fed. Trade Comm’n v. Watson

Pharmaceuticals, Inc., 677 F.3d 1298, 1312 (11th Cir. 2012)). By

 

rejecting this holding and finding instead that “reverse payment
settlements .. . can sometimes violate the antitrust laws,” the
decision of the Court in Actavis was a broad correction of the
lower court’s subjugation of antitrust law to patent law
protections. Actavis, 570 U.S. at 141. Thus, the Court’s attention
in Actavis was focused not simply on the possibility that a patent
holder avoided the risk of its patent being invalidated, but
instead on the possibility that the patent holder was exploiting
its advantage in the market to “maintain and share patent-—
generated monopoly profits.” Id. at 158. As such, albeit briefly,
the Court in Actavis suggested “those interested . . . to
examine” the legislative history of the Hatch-Waxman Act. See id.
at 152-53 (quoting remarks of Sens. Hatch and Waxman, plainly
stating that the intent of the Act was not to allow collusive
deals that delayed generic entry).

Courts interpreting Actavis have similarly identified this
broader concern. For example, when finding that a No-AG agreement

was consistent with the Courts’ idea of a reverse payment

32
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 33 of 54 PagelD# 55041

potentially subject to antitrust scrutiny, the Third Circuit

identified that:

The thrust of the Court’s reasoning is not that it is

problematic that money is used to effect an end to the

patent challenge, but rather that the patentee leverages
some part of its patent power (in Actavis, its
supracompetitive profits) to cause anticompetitive harm

— namely, elimination of the risk of competition.

Lamictal, 791 F.3d at 406 (emphasis added). That is to say, the
through-line in any reverse payment case is whether the settlement
agreement, “without justification, [] delay{s] competition for
longer than the patent’s strength would otherwise permit.” Id.
at 409. The Third Circuit later reinforced this broad reading of
Actavis, explaining that “[w]hile there is language in Actavis
that describes premature termination of litigation as an
anticompetitive harm. . . the Supreme Court’s holding was not so
narrow.” Wellbutrin, 868 F.3d at n.50 (“In other words, the Court
took issue with reverse payments not simply because they could
lead to the premature termination of litigation, but rather
because they eliminate the risk of competition.”).

The alternate settlement theory is clearly based on the idea
that the patent holder improperly wielded its patent power to
obtain a settlement different than one that is competitively
balanced based on the “patent’s strength” alone. Lamictal, 791

F.3d at 409. To reiterate, in an alternate settlement, the patent

holder avoids entering into a settlement agreement that stipulates

33
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 34 of 54 PagelD# 55042

the competitively balanced generic entry date by inducing the
challenger to agree to a later generic entry date with some form
of payment. This kind of delay is, in a sense, even more direct
than the delay obtained in risk of patent invalidation cases, such
as Actavis. In risk of patent invalidation cases, the delay
effectuated may never have actually materialized in the but-for
world, if the patent’s validity would have been affirmed as a
result of the infringement suit.?3 In contrast, in alternate
settlement cases, the entry date of the generic is certain to have
been delayed, as the patent holder obtains the guaranteed
avoidance of competition between the competitively balanced entry
date and the alternate settlement’s entry date.*4

Broadly interpreting Actavis’ conception of the relevant
anticompetitive conduct also finds support in the fact that the
Court consistently explained that the patent’s actual validity
was not a concern. See Actavis, 570 U.S. at 157 (“[I]t is normally
not necessary to litigate patent validity to answer the antitrust

question... .”). Instead, the Court emphasized that its concern

 

23 As aresult of settlement, this contingency is
fundamentally unknowable. See Androgel, 2018 WL 2984873, *12
(“[Dletermining the ultimate outcome of the underlying patent
litigation is both fundamentally unknowable and procedurally
impossible.”).

24 This assertion is, of course, contingent on the finding
that the economic experts’ calculation of the alternate settlement

date is correct.

34
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 35 of 54 PagelD# 55043

was with the patent holder’s successful avoidance of the risk of
patent invalidation itself. Id. The anticompetitive conduct
contemplated by the Court thus centered on whether the patent
holder perceived that its patent could be invalidated and
thereafter used its patent power to avoid the possibility of that
occurrence.25 Id. at 157-158. Actavis’s holding simply suggests
that improper use is anticompetitive.

Accordingly, the court concludes that even though Plaintiffs’
causation theory admits that Merck and Glenmark would have settled
the infringement suit regardless of the No-AG provision, it is
consistent with the anticompetitive conduct contemplated by the
court in Actavis. As a practical matter, if the alternate
settlement theory was insufficient to show anticompetitive effect
at summary judgment, then any case based on that theory for
purposes of causation would surely have the same Comcast issue
that Defendants now raise. However, courts have consistently found

that alternate settlement is a valid theory of causation. See R&R

 

25 In fact, the key rationale of the so-called “Actavis
Inference” is that “the size of the unexplained reverse payment
can provide a workable surrogate for a patent’s weakness, all
without forcing a court to conduct a detailed exploration of the
validity of the patent itself.” Actavis, 570 U.S. at 158. The size
of the payment and the patent holder’s perceived risk of patent
invalidation share a direct relationship. For purposes of
identifying the risk-adjusted patent invalidation date, necessary
for calculating damages, this reasoning also relies on the idea
that the patent holder’s perceived risk of invalidation is the
best approximation of the actual risk. Who better to understand
the patent’s vulnerability than the patent holder itself?

35
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 36 of 54 PagelD# 55044

at 62 (citing In re Androgel Antitrust Litig. (No. II), No. 1:09-
CV-955-TWT, 2018 WL 2984873, at *16 (N.D. Ga. June 14, 2018)
(collecting cases)). Although Defendants’ correctly point out that
the R&R makes several references to the avoidance of the risk of
patent invalidation as the anticompetitive conduct in this case,
see Def. Obj. at 15-16, the R&R also indicated that Plaintiffs’
alternate settlement theory displayed anticompetitive effect per
Actavis. See R&R at 53 (“Plaintiffs’ argument that the No-AG
agreement compensated Glenmark for generic delay is amply
supported by their causation arguments . . . 7) 76

Ultimately, at this juncture, the court finds that even in
the face of Plaintiffs’ vague and potentially conflicting
arguments, it is appropriate to deny summary judgment on
anticompetitive effect. This case involves a complex area of law,
applied to a novel set of facts. See 10A C. Wright, A. Miller, &
M. Kane, Fed. Prac. and Proc.: Civ., § 2725.3 (1983) (“[A]ithough
complex or novel issues of law do not preclude summary judgment,
their presence in the action may suggest that a fuller development
of the facts would be helpful to their resolution. In those
circumstances, the court may deny summary judgment.”). The parties

have engaged in multiple years’ of discovery, thousands of pages

 

26 The R&R also accurately framed the anticompetitive conduct
question by stating: “[T]o succeed on its claims, Plaintiffs must
prove that Glenmark’s delay was given in exchange for Merck’s no-
AG agreement: that is Actavis.” R&R at 48 (citations omitted).

36
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 37 of 54 PagelD# 55045

of briefings, and numerous hearings before the court. As a result,
Plaintiffs have submitted evidence and argument sufficient to
establish a dispute of material fact regarding anticompetitive
effect that is consistent with the type of “pay for delay”
contemplated by Actavis. The court, “not confined to the
particular propositions of law advanced by the parties on the
summary-judgment motion,” accordingly finds that Defendants are
not entitled to judgment as a matter of law on this point. Wright
& Miller, supra, § 2725.3.
2. Link Between Payment and Generic Entry Date

Defendants claim that the R&R was in error “in concluding
the jury could find a link between the [alleged No-AG agreement ]
and the [generic] entry date.” Def. Obj. at 17. Defendants submit
that Plaintiffs have offered “no facts to meet their burden of
proving such a connection,” and submit that ‘Plaintiffs’ two
economists admitted that they had not seen any documents or
testimony suggesting any quid pro quo relating to the entry date
or that the entry date was tied to the presence of the alleged
No-AG provision.” Id. Pointing to other record evidence,
Defendants submit that the negotiators for Merck and Glenmark
“testified that there was no link between the request for a No-AG
provision and the early entry date.” Id. at 18 (citations

omitted).

37
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 38 of 54 PagelD# 55046

Nevertheless, the court finds no error when finding triable
issues of material fact regarding whether the reverse payment was
linked to the generic entry date. First, Defendants crucially
overlook the fact that the R&R identified record evidence exposing
inconsistencies across the negotiators’ testimony. See R&R at 54
(citing ECF No. 1156 at 60-61) (Plaintiffs’ Response to Motion
for Summary Judgment). Second, as stated in the R&R, Plaintiffs
may appropriately rely on their economic experts’ testimony that
“the settlement agreement itself was evidence of an exchange.”
R&R at 54 (citations omitted). This finding is rooted in the
reasoning of Actavis, which provided that an inference may be
drawn between an “unexplained large reverse payment” and the
“desire to maintain and to share patent-generated monopoly
profits.” Actavis at 157-58; see Aaron Edlin et al., The Actavis
Inference: Theory & Practice, 67 Rutgers U. L. Rev. 585, 589
(2015) (“[A] fact-finder may properly infer that such a large and
unexplained payment was made to delay generic entry, and hence is
anticompetitive.”) (internal quotations omitted).

Therefore, the inconsistent testimony of Defendants’
negotiators paired with Plaintiffs’ economists’ testimony is
sufficient to create a dispute of material fact around the link
between the alleged No-AG provision and the entry date.
Accordingly, the court finds no error in the conclusion that

Plaintiffs’ evidence “can reasonably support a jury’s inference .

38
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 39 of 54 PagelD# 55047

that the Agreement included a reverse payment and avoided the
risk of competition.” R&R at 55. See Androgel, 2018 WL 2984873,
at *12 (“Plaintiffs have provided enough evidence for a reasonable
jury to find that, by overvaluing these side agreements in the
settlement, the Defendants were able to reach agreements that left
them better off than any party would have been [had no
anticompetitive conduct occurred].”)
3. Risk of Patent Invalidation

Defendants’ last objection to the R&R’s findings related to
anticompetitive effect is that “the Magistrate Judge erred in
permitting plaintiffs to proceed without proof that Merck avoided
the risk of patent invalidation.” Def. Obj. at 20. Central to this
proposition is the fact that, at the time of the settlement with
Glenmark, Merck was also litigating its infringement suit against
Mylan. See id. As such, Defendants claim that Merck’s settlement
with Glenmark achieved no reduction in risk because “even after
settling with Glenmark, Merck still faced the same risk that its
patent would be invalidated” by the Mylan decision. Id.

The R&R found that the existence of the pending Mylan
litigation did not mitigate the anticompetitive effect of the
Settlement Agreement with Glenmark for two reasons. First, Judge
Miller found that Actavis does not require that “the settlement
close the door on all potential risk.” R&R at 56. Defendants

request that this court “not be the first to extend Actavis to

39
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 40 of 54 PagelD# 55048

this sharply different circumstance.” Def. Obj. at 21. Second,
Judge Miller found that unpredictable developments unfolded after
the Glenmark settlement, causing the Mylan case to proceed to
trial “under a very different record” and thus under a different
risk-profile. R&R at 57. In particular, the R&R highlights the
fact that, after settling its dispute with Glenmark, Merck
“obtained reissue of the RE’721 patent omitting compounds 4E and
FP,” “designated a new export on inventorship,” and “benefitted
from the Federal Circuit’s tightening of the inequitable conduct
standard” in Therasense, Inc. v. Becton, Dickinson and Co., 649
F.3d 1276 (Fed. Cir. 2011). See R&R at 57. The court agrees with
the R&R’s determination that these events create a dispute of
material fact whether the risk of patent invalidation faced by
Merck in the Mylan litigation was different than that faced in
the Glenmark litigation.

Nevertheless, both of Defendants’ challenges here are
inapposite. As outlined previously,2? the court now finds that
Plaintiffs’ alternate settlement theory, and the supporting
evidence, independently serves a basis for showing that Settlement
Agreement had anticompetitive effects, consistent with Actavis.
Accordingly, Defendants are not entitled to summary judgment as a

matter of law based on these arguments.

 

27 See supra Part III.B.1.ii.
40
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 41 of 54 PagelD# 55049

Cc. Causation

To succeed in their antitrust action, Plaintiffs must show
that Defendants’ “allegedly anticompetitive conduct was the actual
and proximate cause” of their antitrust injury.” In re Wellbutrin
XL Antitrust Litig., 133 F. Supp. 3d 734, 762 (E.D. Pa. 2015)
(citing 15 U.S.C. § 15). Defendants have three objections to the
conclusions in the R&R with respect to causation. Def. Obj. at
22-31. Defendants first argue that the R&R erred when recommending
that the district court preclude Plaintiffs from arguing two
abandoned theories of causation at trial, rather than recommending
the district court to grant summary judgment on those theories.
Id. at 22-23. Next, Defendants argue that the R&R erred by finding
disputes of material fact regarding Plaintiffs’ remaining
“alternate settlement” theory of causation. Id. at 23-29. Third,
the R&R erred in finding disputes of material fact regarding
whether Glenmark had the manufacturing capacity to launch its
generic in time for the alternate settlement’s generic entry date.
Id. at 29-31. For the reasons stated below, the court finds no
error.
1. Abandoned Theories of Causation

In the initial stages of this litigation, Plaintiffs proposed
three different theories of causation: the “continued litigation”
theory, the “at-risk” theory, and the “alternative settlement”

theory. See ECF No. 315 at 67 (“DPPs Am. Class Action Compl.”).

41
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 42 of 54 PagelD# 55050

Under the continued litigation theory, Plaintiffs alleged that
Glenmark would have continued to fight its patent challenge
against Merck, eventually winning the litigation and launching
their generic following that victory. Id. Under the at-risk
theory, Plaintiffs alleged that Glenmark would have launched its
generic shortly following the expiration of the 30-month stay
imposed by the Hatch-Waxman Act after being triggered by
Glenmark’s ANDA filing. Id.; see 21 U.S.C. § 355(3) (5) (B) (iii).
However, discovery and various rulings from the court have shaped
the parties’ dispute, and Plaintiffs have since abandoned the
“continued litigation” and “at risk” theories. See R&R at 61.
Instead, Plaintiffs now rely solely on the alternate settlement
theory of causation. Accordingly, Defendants submit that they are
entitled to summary judgment on the two abandoned theories. Def.
Obj. at 23. The court disagrees.

As the R&R indicated, the “continued litigation” and “at
risk” theories of causation are, as defined, merely theories. They
are methods of showing a causal connection between a defendant’s
anticompetitive conduct and a plaintiff’s injury. It is the causal
connection itself, not the method of establishing that connection,
which constitutes the antitrust element. Plaintiffs adequately
rebutted Defendants’ objection in this regard by pointing out
Defendants’ misplaced reliance on Wellbutrin, 868 F.3d at 167-

170. Defendants proposed that the Third Circuit’s ruling on

42
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 43 of 54 PagelD# 55051

causation in Wellbutrin supported their position that they are
entitled to summary judgment on the abandoned theories. Def. Obj.
at 23. However, as Plaintiffs pointed out, see Pls. Resp. at
n. 85, the Third Circuit in Wellbutrin did not grant summary
judgment to the defendants on the plaintiffs’ various theories of
causation, but rather on the antitrust element of causation, after
determining that none of the plaintiffs’ theories established a
dispute of material fact. See Wellbutrin, 868 F.3d at 167-170.

Here, Plaintiffs do have a remaining theory of causation (the
alternate settlement theory) which, for the reasons explained
below, see infra Part III.C.2., does establish disputes of
material fact. Thus, the R&R’s recommendation that “Plaintiffs
are precluded at trial from presenting these theories to the
jury,” R&R at 62, is the appropriate conclusion. See In re Solodyn
Antitrust Litig., Civ. No. 14-md-2503, 2018 WL 563144, at *13 (D.
Mass. Jan. 25, 2018) (denying summary judgment on the plaintiffs’
abandoned theory of causation as moot).
2. Evidence of Alternate Settlement

Defendants here object on the grounds that “the Magistrate
Judge erred in finding that Plaintiffs have created a genuine
question of fact on causation” via their alternate settlement
theory. Def. Obj. at 23. The alternate settlement theory states
that, had Merck and Glenmark’s Settlement Agreement not included

the reverse payment, the Agreement would have stipulated that

43
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 44 of 54 PagelD# 55052

Glenmark’s generic could enter the market sometime between January
and May 2015, rather than in December 2016. See ECF Nos. 1130-9
at 26 (“McGuire Rbt. Rpt.”), 1130-4 at 54-55 (“Leffler Rbt.
Rpt.”). In particular, Defendants claim that: (1) Plaintiffs can
point to no evidence in the record indicating that Merck and
Glenmark would have agreed to an earlier generic entry date; (2)
Plaintiffs’ only evidence (economic experts’ opinions) are fatally
flawed; and (3) record evidence actually contradicts the experts’
opinions. Def. Obj. at 23-29.

Regarding the lack of record evidence, the court agrees with
Plaintiffs’ characterization that they are “not required to show
a ‘paper trail’ . . . showing what [Defendants] would have done
had they not violated the antitrust laws.” Pls. Res. At 26.
Instead, the R&R appropriately concluded that the expert opinions
of Drs. McGuire and Leffler were “adequate to support Plaintiffs’
arguments against summary judgment.” R&R at 65. Contrary to
Defendants’ claim that the opinions are “completely speculative,”
Def. Obj. at 24, the conclusions are clearly based on the experts’
thorough analysis of “estimates regarding the strength of
Glenmark’s patent challenges,” Merck’s “expected profits from
offering an [AG] during Glenmark’s period of exclusivity, as well
as the cost to Glenmark from facing such competition,” ECF

No. 1649 at 4, 11.

44
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 45 of 54 PagelD# 55053

Numerous courts have also found that expert opinions based
on this type of analysis were sufficient to establish triable
issues of fact and thus capable of surviving summary judgment.

See, e.g., Androgel, 2018 WL 2984873, at *16; Solodyn, 2018

 

WL 563144 at *23; United Food & Commer. Workers Local 1776 v.
Teikoku Pharma USA (“Lidoderm”), 296 F. Supp. 3d. 1142, 1163 (N.D.
Cal. 2017). Nevertheless, Defendants attempt to divert the court’s
attention away from this robust line of precedent, and again
towards the Wellbutrin line of cases. See Def. Obj. at 24. It is
true that the district court in Wellbutrin “found that there was
no evidence that a settlement without a No-AG provision ‘was ever
contemplated, much less that it would have resulted in an earlier
entry date.’” Id. (citing 133 F. Supp. 3d at 738). However, the
circumstances leading to that decision are clearly
distinguishable.

In Wellbutrin, the district court’s ruling relied on the fact
that the plaintiffs’ expert did not “try to answer the question
of what specifically some alternative form of settlement would
have looked like.” 133 F. Supp. 3d at 757-58. Not so here. Further,
when affirming the lower court’s ruling, a critical component of
the Third Circuit’s analysis highlighted the tangential nature of
the patent holder’s incentives in that case, since the patent
holder was not a party to the reverse payment. 868 F.3d at 166-

67. Here, the experts’ opinions regarding the competitively

45
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 46 of 54 PagelD# 55054

balanced entry date, absent the reverse payment, are squarely the
result of the payor’s incentives and expectations, not some third
parties’ position.

Next, regarding whether Plaintiffs’ economic experts’
opinions are flawed, Defendants again seek to undermine Dr.
Hrubiec’s opinion, on which Drs. McGuire and Leffler’s alternate
settlement dates were based. Def. Obj. at 26-29. Dr. Hrubiec
opined, in part, that Glenmark had a “*65 to 75%’ chance of
prevailing against Merck in the patent litigation.” Def. Obj.
at 26 (citing ECF No. 1083-18 (“Hrubiec Rpt.”)). Defendants claim
that Dr. Hrubiec’s opinion is “arbitrary and unconnected to any
facts or data” and is negated by the fact that Merck subsequently
won its patent litigation against Mylan. Def. Obj. at 27.

In the R&R, Judge Miller dispensed with these arguments by
deferring to his previous analysis, when denying Defendants’
Daubert motions regarding Plaintiffs’ experts. R&R at 64; see ECF
Nos. 1648 (Order denying Defendants’ Daubert Motion with respect
to Dr. Hrubiec), 1649 (same, with respect to Drs. McGuire and
Leffler). Defendants propose that “the Magistrate Judge erred in
concluding that his decision admitting those opinions in and of
itself sufficed to preclude summary judgment.” Def. Obj. at 24.
However, the court interprets this reasoning in the R&R
differently. Instead, the court finds that Judge Miller’s deferral

to the Daubert orders was appropriate: The substance of

46
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 47 of 54 PagelD# 55055

Defendants’ challenge to the experts’ opinions has not changed
and Judge Miller’s previous rejection of those arguments supports
the conclusion that the opinions maintain a dispute of material
fact. See R&R at 64.

Judge Miller’s previous rulings reject the argument that Dr.
Hrubiec’s opinion was “arbitrary and unconnected to any facts or
data.” Def. Obj. at 27. As Judge Miller stated, aside from his
“25 years of experience in the field of pharmaceutical patents,”
Dr. Hrubiec’s opinion was based on his review of "’ relevant
pleadings, briefing, expert reports, discovery materials, and
court orders/opinions from the underlying patent cases,’ as well
as the expert report of Plaintiffs' chemistry expert... .” ECF
No. 1648 at 10, 13 (citing Hrubiec Rpt. at 15). Further, Dr.
Hrubiec’s opinion was based on his review of “statistical studies
that were publicly available in 2009-2010, each of which showed
that generic companies generally prevailed in infringement suits.”
Id. at 13.

Judge Miller’s previous rulings also reject the argument that
Dr. Hrubiec’s opinion is negated by Merck’s eventual victory
against Mylan. As noted in the Daubert ruling, Dr. Hrubiec’s
“decision not to consider the eventual outcome of the Mylan
litigation” was based on his finding that the outcome of the Mylan
litigation was not "reasonably foreseeable by the parties or their

counsel in May 2010" and was affected by “intervening changes to

47
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 48 of 54 PagelD# 55056

the legal and factual landscape.” Id. at 12, 41. Ultimately, in
addition to contributing to the admissibility of Dr. Hrubiec’s
opinion, this basis also creates a dispute of material fact
sufficient to survive Defendants’ summary judgment challenge.
Defendants also attack Drs. McGuire and Leffler’s opinions
because “[t]hey assume that Merck’s settlement with Glenmark
eliminated all risk to Merck of having its Zetia patent
invalidated." Def. Obj. at 28. Defendants claim that, since at
the time of settlement, the Mylan litigation was ongoing, the
experts’ opinions are flawed for not discounting the value of the
settlement by “the percentage chance that Merck would lose the
Mylan case.” Def. Obj. at 28. Judge Miller's Daubert ruling
responded to this same argument by crediting the experts’ argument
that the Mylan risk need not be discounted it “would impact
settlement profits and litigation risk equally.” ECF No. 1649
at 31. Put differently, there is a dispute of material fact whether
“the [Mylan] risk was immaterial,” considering the experts’ stance
that the risk affected the value of the litigation and settlement
in equal and opposite amounts, effectively cancelling out. Id.
Finally, regarding the supposedly contradictory record
evidence, Defendants point to the negotiations between Merck and
Glenmark. Def. Obj. at 25-26. Defendants exclaim that, of the
various proposed entry dates, none were earlier than six-months,

nor were any expressly contingent upon a particular payment. Id.

48
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 49 of 54 PagelD# 55057

The court finds that this evidence does not so clearly negate the
evidence Plaintiffs have submitted. Plaintiffs have consistently
alleged that all entry dates proposed in negotiations were already
colored through the lens of the parties’ understanding that “Merck
would provide substantial compensation to Glenmark in some form.”
Pls. Res. at 28. Thus, the record evidence of negotiations
highlighted by Defendants actually contributes to the dispute of
material fact; it does not undermine Plaintiffs’ experts’ opinions
to the extent that Defendants are entitled to summary judgment.

Ultimately, none of Defendants’ critiques of Plaintiffs’
causation evidence entitles them to summary judgment, but rather
“goes to the weight of the testimony and should be explored in
cross-examination.” ECF No. 1649 at 31.
3. Manufacturing Capacity

In order to establish causation, Plaintiffs must also show
that Glenmark had the ability to launch its generic by the time
of the alternate settlement’s earlier entry date. See Wellbutrin,
868 F.3d at 166; Lidoderm, 296 F. Supp. 3d. at 1164-65. To do so,
Plaintiffs rely on the expert opinion of Susan Marchetti, see ECF
No. 1148-13 (“Marchetti Rpt.”), and submit that Glenmark would
have been able to launch its generic “on November 15, 2014, or
any time later” by contracting with a third-party supplier, MSN
Labs. See ECF No. 1084-06 at 63 (“McGuire Rpt.”); 1084-13 at 25

(“Leffler Rpt.”). The R&R found that “Marchetti’s testimony is

49
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 50 of 54 PagelD# 55058

sufficiently reliable to create a dispute of material fact on this
issue.” R&R at 66. Defendants object, claiming that “there is no
evidence in the record” that Glenmark could have launched its
generic by the alternative entry date and thus that Marchetti’s
opinion is “overly speculative.” Def. Obj. at 29-30. The court
disagrees and finds no error. It will be up to the jury to
determine the reliability and weight of Marchetti’s testimony in
its role of assessing the credibility of witnesses at trial under
the factors outlined by the court in its instructions

In this regard, Marchetti’s opinion was based, in part, on
her review of various certificates of analysis (“COAs”) from 2013,
which display MSN Labs’ production of various batches of
ezetimibe, measured by active pharmaceutical ingredient (“API”).
See Marchetti Rpt. at 37. Marchetti concluded based on these COAs
that “MSN had the manufacturing capacity to produce at least three
lots of API (150kg) within a two-week period,” at that time.
Marchetti Rpt. at 37 (emphasis added). Defendants reject this
reasoning because Marchetti’s analysis was not based on any
underlying facts relating to the structure of MSN Labs’ COA, its
facilities or other resources. See Def. Obj. at 30. However, as
noted in the R&R, “Marchetti also testified that she did not need
this information” because her understanding of COAs within the
industry was backed by extensive experience, which includes “over

35 years . .. at brand and generic pharmaceutical companies” and

50
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 51 of 54 PagelD# 55059

assisting with “the launch of more than 60 generic products.” R&R
at 67-68. Defendants and Plaintiffs can argue these matters to
the jury.

Marchetti’s opinion was also based on her review of a
June 30, 2015 email, in which MSN Labs responded to Glenmark’s
inquiries about manufacturing rates as a variable of several order
lead times. Marchetti Rpt. at 37. Based on this email, Marchetti
identified that, with six-months of lead time, MSN Labs was
capable of manufacturing at a rate of 250kg per month. Marchetti
Rpt. at 38. Defendants object to this conclusion and claim that
the email only supports the proposition that “MSN’s capacity
differed depending on the timing of Glenmark’s request.” Def. Obj.
at 31. However, Marchetti has clearly stated that, based on her
wide-ranging experience in the industry, the kind of statement
in the June 30, email stands as a sort of certification that MSN
Labs could sustainably meet that rate of output. ECF No. 1139-5
at 6-7 (“Marchetti Dep.”). Again, these arguments are for the
jury.

In sum, the court agrees with the R&R’s conclusion that
Marchetti’s opinion is sufficient for a reasonable juror to
conclude that Glenmark had the ability to launch its generic in
time for the alternate settlement’s entry date. See R&R at 61.
The court reiterates, Defendants’ critiques of Marchetti’s opinion

are appropriately reserved for cross-examination to challenge the

31
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 52 of 54 PagelD# 55060

weight of the testimony and credibility of the witness. Defendants
are not entitled to summary judgment on this matter.
D. Antitrust Injury

Finally, Defendants submit that Judge Miller “erred in
finding that Plaintiffs have created a genuine question of fact
on antitrust injury.” Def. Obj. at 31. As stated previously, the
antitrust injury must reflect the anticompetitive effect of the
violation. See Brunswick, 429 U.S. at 489. In this case,
Plaintiffs must do so by showing that “they suffered an injury in
the form of higher drug prices because of the delay in generic
entry caused by the reverse payment settlement.” Androgel, 2018
WL 2984873, at *12; see Wellbutrin, 868 F.3d at 164-165.
Plaintiffs’ alternate settlement theory makes this showing and is
sufficient to survive summary judgment.?®

Nevertheless, Defendants argue that Plaintiffs are precluded
from establishing antitrust injury because Merck’s patent was
valid and infringed and “exclusion from the market of an
undisputedly infringing product cannot serve as the basis for
antitrust injury.” Def. Obj. at 31. Essentially, Defendants argue
that any early entry for Glenmark’s generic was procompetitive,

and the allegation that the competitive generic entry date should

 

28 See supra Part III.C.2.
52
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 53 of 54 PagelD# 55061

have been earlier amounts to complaining that the Settlement
Agreement was not “procompetitive enough.” Def. Obj. at 32.
However, as the R&R correctly noted, “[t]he question is not
one of patent law, but of antitrust law which prohibits the
improper use of a patent monopoly.” R&R at 72 (citing Lamictal,
791 F.3d at 407; Actavis, 570 U.S. at 148). The unlawful wielding
of the patent power is of such interest to the antitrust laws
that, even when the theory of risk of competition is the avoidance
of patent invalidation, courts have found that “the actual
validity of the patent is irrelevant to the question of whether
the reverse payments violated the antitrust laws.” Androgel, 2018

WL 2984873 at *1l.

Even more so in the alternate settlement context, the fact
that Merck won its patent litigation against Mylan does not weigh
on the question of whether an antitrust injury resulted from
the “improper use of a patent monopoly.” R&R at 72 (citing
Lamictal, 791 F.3d at 407; Actavis, 570 U.S. at 148). Thus, Judge
Miller did not err in finding a dispute of material fact regarding
antitrust injury and Defendants are not entitled to summary
judgment in this regard.

IV. CONCLUSION

For the reasons stated above, and after a de novo review,

the court overrules Defendants’ objections and accepts the Ré&R’s

recommendation, see ECF No. 1717 at 73, that Defendants Motions

53
Case 2:18-md-02836-RBS-DEM Document 1929 Filed 02/10/23 Page 54 of 54 PagelD# 55062

for Summary Judgment, ECF Nos. 1037, 1067, be denied. See Fed.
R. Civ. P 72(b). There are disputes of material fact regarding
the nature and value of the reverse payment in this case, whether
the Settlement Agreement had anticompetitive effects, whether
Defendants’ allegedly anticompetitive conduct caused Plaintiffs’
injury, and whether the injury suffered by Plaintiffs is the type
of harm that the antitrust laws are meant to prevent. See Fed. R.
Civ. P. 56(a). Accordingly, Defendants are not entitled to
judgment as a matter of law; Judge Miller’s thorough and well-
reasoned R&R is AFFIRMED; and Defendants’ Motions for Summary
Judgment are DENIED.

The Clerk is DIRECTED to send a copy of this Opinion to
counsel for all parties.

IT IS SO ORDERED. ??9

w__ -&-
Rebecca Beach Smith

Senior United States District Judge

Rebecca Beach Smith
Senior United States District Judge

 

February ]0, 2023

 

29 For reference purposes, an Index of this Opinion is
attached hereto as Exhibit A.

54
